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                                  UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                         *   CASE NO. 17-11015
                                                                  *
   FLYGLO, LLC                                                    *   CHAPTER 11
                                                                  *
                      DEBTOR                                      *   JUDGE JERRY A. BROWN
   *          *       *    *           *       *        *         *


       MOTION AND INCORPORATED MEMORANDUM FOR ORDER UNDER 11 U.S.C. §
        105(a) HOLDING DEBTOR AND ITS PRINCIPAL IN CONTEMPT AND UNDER
         11 U.S.C. § 503 FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIM

              Wells Fargo Bank Northwest, National Association, not in its individual capacity but solely

   as Owner Trustee for the benefit of Alandia Air Ab (“Alandia”), respectfully moves this Court to

   hold FlyGlo LLC, debtor in possession herein (“Debtor”), and the Debtor’s principal, Calvin

   Fayard (“Fayard”) in contempt of court and to allow, and order the payment of, Alandia’s

   administrative expense claim, as follows:

                                              Jurisdiction and Venue

              This court has jurisdiction over this contested matter pursuant to 28 U.S.C. §§ 157(b) and

   1334(b). This matter is a core proceeding under 28 U.S.C. § 157(b). Venue is appropriate in this

   court. 28 U.S.C. § 1409(a).

                                                    Background

              In support of this Motion, Alandia references the Affidavit of Jörgen Gustafsson, the Chief

   Executive Officer of Alandia Air Ab (“Affidavit”).1




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       Alandia will file the signed Affidavit upon receipt.

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          Alandia is the beneficial owner of three aircraft (collectively “Aircraft”) which are leased

   to the Debtor pursuant to (i) that certain Aircraft Lease Agreement Number: AA-FG01 dated as of

   August 28, 2015 (“N220MJ Lease”), (ii) that certain Aircraft Lease Agreement Number: AA-

   FG02 dated as of October 15, 2015 (“N9CJ Lease”), and (iii) that certain Aircraft Lease Agreement

   Number: AA-FG03 dated as of December 1, 2015 (“N346CJ Lease”)(collectively “Leases”). A

   copy of each of the Leases are attached to the Affidavit as Exhibit A. Thereafter, the Debtor

   entered into certain Aircraft Sublease and Maintenance Agreements with Corporate Flight

   Management, Inc. (“CFM”) under which the Debtor subleased the Aircraft to CFM.

          At the time that the Debtor commenced this case on April 23, 2017, the Debtor owed

   Alandia more than $1,200,000 and was in default of important nonmonetary obligations under the

   Leases. On April 28, 2017, Alandia filed a Motion and Incorporated Memorandum to Lift

   Automatic Stay (“Motion”) [Doc. 29] seeking immediate return of the Aircraft. After extensive

   negotiations, the parties stipulated to, and this Court entered, the Order Approving Agreement

   Relating to Motion to Lift Automatic Stay (the “Order”), which included the following relevant

   provisions (emphasis added):

          IT IS HEREBY ORDERED that that on or before July 31, 2017, the Debtor shall
          surrender each aircraft and related property and documents subject to each Lease
          (individually and collectively, “Aircraft”) and redeliver each such Aircraft to
          Alandia in accordance with (including, without limitation, in the condition
          required by) each Lease (except that redelivery may be made in New Orleans,
          LA), and cooperate with Alandia in it obtaining possession of the Aircraft with
          respect to each Lease unless, with respect to a specific Lease, an order is entered
          on or before July 31, 2017 authorizing the Debtor to assume such Lease pursuant
          to 11 USC 365.

                                                  ***

          IT IS HEREBY ORDERED that the Debtor shall timely perform all post-petition
          obligations under the Leases, including, without limitation, (i) timely payment of
          post-petition rent in accordance with the Leases, (ii) timely payment of post-

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              petition amounts due to GE Engine Services, LLC or other appropriate General
              Electric Aviation affiliate (“GE”) under the GE Engine Care Maintenance Plan
              (“ECMP”) Program Engine Services Agreement (“ECMP Agreement”) covering
              the engines attached to the Aircraft (collectively “Engines”), (iii) continuing
              coverage of the Engines in the GE ECMP Program (subject to Paragraph (I)
              below), (iv) timely payment of post-petition Maintenance Reserves in accordance
              with the Leases, (v) timely payment of all post-petition fees, costs and taxes owed
              in connection with continuing possession, use and operation of the Aircraft,
              including, without limitation, license and registration fees, and costs of fuel, service
              and parts for the Aircraft, (vi) timely maintenance of the Aircraft in good operating
              condition and in accordance with the post-petition requirements (including
              unsatisfied pre-petition requirements) contained in the Approved Maintenance
              Program (as such term is defined in the Leases), (vii) insuring the Aircraft in
              accordance with the terms of the Leases, and (viii) timely payment of any and all
              amounts required to remove, release or avoid the imposition of any post-petition
              Liens (as such term is defined in the Leases) on the Aircraft.

                                                       ***

              IT IS HEREBY ORDERED that the Debtor has represented that GE at this time
              has agreed to continue to perform under the GE ECMP Agreement. If GE obtains
              a Court Order terminating or allowing GE to suspend performance under the GE
              ECMP Agreement the Debtor shall immediately surrender the Aircraft to Alandia
              and the stay shall be immediately lifted to allow Alandia all rights and remedies to
              take possession of and recover the Aircraft, without the necessity of Alandia
              obtaining any further order from this Court.

   As reflected by these provisions, a critical component to the Order, and Alandia’s agreement to

   allow the Debtor to continue to operate the Aircraft, was the requirement that the Debtor return

   the Aircraft to Alandia in accordance with the Leases. The Debtor and Mr. Fayard understood the

   importance of these provisions to Alandia as they were extensively discussed and negotiated.

              Returning a leased commercial aircraft to its owner is not like returning a rental car at the

   airport.     Proper return of the Aircraft, including all of its component items of equipment and

   documentation, is essential to the safety and value of the Aircraft and the Aircraft’s eligibility for

   re-lease to another party, and is a critical Lease provision which the parties negotiated into the

   Order. Under section 12.1 of the Leases, the Debtor is required to return the Aircraft to Alandia

   at Debtor’s expense:

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           … in a condition complying with Schedule 4 [of the Leases], free and clear of all
           Liens (other than Lessor Liens) and in a condition qualifying for immediate
           issuance of a standard certificate of airworthiness from the Federal Aviation
           Administration of the United States of America, or as otherwise agreed by Lessor
           and Lessee. Lessor agrees to comply fully with all requirements set out in Schedule
           4 [of the Leases]. (emphasis added)

   The Schedule 4 conditions include, but are not limited to, the Debtor returning the Aircraft: (i) in

   good operating condition with all equipment and systems functioning properly (Schedule 4, Art.

   1(a)); (ii) with a Certificate of Airworthiness (Schedule 4, Arts. 1(b) and 1.1); (iii) in compliance

   with all mandatory service bulletins, orders, directives and instructions affecting the Aircraft

   (Schedule 4, Arts. 1(d) and 1.1); (iv) with all deferred maintenance completed (Schedule 4, Art.

   1(e)); (v) with all corrosion repaired (Schedule 4, Art. 1(f)); (vi) free and clear of all liens (Schedule

   4, Art. 1(g)); (vii) in the same configuration with all of the same equipment as when delivered to

   the Debtor (Schedule 4, Arts. 1(h) and 1.1); (viii) with certain airframe inspections having just

   been performed and certain time remaining until other airframe inspections are required to be

   performed (Schedule 4, Art. 1.1); (ix) with tires and brakes having at least 50% remaining service

   life (Schedule 4, Art. 1.1(c)); (x) with controlled components in serviceable condition and having

   at least the service life remaining as when delivered to the Debtor (Schedule 4, Art. 1.2); (xi) with

   a video-taped borescope inspection performed on each engine (Schedule 4, Art. 1.3(a)); (xii) with

   engines eligible for continued ECMP enrollment, not showing adverse performance or oil

   consumption trends and subject to an ECMP Qualification Letter from GE (Schedule 4, Arts. 1.1,

   1.3(b) and 1.3(c)); (xiii) with all uninstalled vendor and manufacturer service bulletin kits

   (Schedule 4, Art. 1.4); (xiv) newly painted in base white livery and with all of the Debtor’s exterior

   and interior markings removed (Schedule 4, Arts. 1.1 and 1.4); (xv) with all aircraft documentation

   listed in Exhibit A to Schedule 4 and Article 2.1 of Schedule 4 in the requisite form and manner

   (Schedule 4, Arts. 2.1 and 2.2); (xvi) with requisite certifications as to accidents, incidents, hard

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   landings, fires and lightning strikes, and as to parts on the Aircraft (Schedule 4, Art. 2.1(i)-(iii));

   (xvii) with vendor documents and data requested by Alandia (Schedule 4, Art. 2.3); and (xviii)

   with aircraft safety devices for landing gear downlocks, engine plugs and miscellaneous equipment

   (Schedule 4, Art. 2.4). In addition, the Debtor is required to, at its expense: (1) make the Aircraft

   available for required inspection, open aircraft areas to enable such inspection, and correct any

   discrepancies found (Schedule 4, Art. 3.1); (2) conduct an operational ground check and correct

   any discrepancies found (Schedule 4, Art. 3.2); and (3) conduct an operational test flight and

   correct any agreed-upon discrepancies (Schedule 4, Art. 3.3). All of the foregoing requirements

   and the other items set forth in Schedule 4 and Section 12 of the Lease are referred to collectively

   as the “Return Conditions”. The Return Conditions are set forth in detail in the Lease and the

   above list is descriptive only and is qualified in its entirety by the actual provisions set forth in the

   Lease and incorporated herein by reference.

            Alandia and the Debtor specifically agreed to the Return Conditions in the Lease, and, in

   the Order, specifically negotiated that the Debtor would be required to adhere to the Return

   Conditions upon rejection. As stated in the Order, the only Return Condition which Alandia and

   the Debtor agreed would not apply is that the parties agreed that redelivery of the Aircraft could

   be made in New Orleans, LA rather than Bangor, ME. Other than this one Return Condition, the

   Debtor agreed to comply with all of the Return Conditions. More importantly, the Court ordered

   the Debtor to comply with the Return Conditions. Alandia would not have agreed to the Debtor’s

   continued operation of the Aircraft without this provision in the Order.

           On the afternoon of Friday, June 30, 2017 (the Friday before the Fourth of July weekend),

   Mr. Fayard sent Alandia’s representative (who lives in Finland) the following email:

           Från: Trey Fayard [mailto:trey@flyglo.com]
           Skickat: den 30 juni 2017 22:24

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          Till: Jörgen Gustafsson <jorgen@alandiaair.com>
          Ämne: Rents and 220

          Jorgen

          Due to lack of the ability of CFM to adequately staff and fly a full schedule for
          July we are returning N220MJ lease AA-FG01 to you effective today. CFM has
          constantly changed their position even from the recent filings in court last week.
          As such, we are forced to reject this lease, and Alandia should retake possession
          of this aircraft which is currently located at B15 in MSY.

          I have ordered the July rents for the additional 2 aircrafts and you will see that
          reflect in your account. It usually takes a day or two for overseas wires to reflect
          as you know. Additionally, next Tuesday is a national holiday and the banks will
          be closed. I assume this transfer will reflect on Monday. I will send you a wire
          confirm once I receive.

          Trey


   A copy of this email is attached to the Affidavit as Exhibit B. Early on Saturday, July 1, 2017,

   Alandia’s representative replied to Mr. Fayard’s email as follows:

          Trey, not much of a heads up on that rejection. Well pls send me the ECMP
          Qualification letters and supporting borescope inspection reports and performance
          runs, capped and un-capped GPA’s that you sent to GE for evaluation and
          approval.
          Also confirm that the aircraft is returned with Alandia engines and propellers
          installed as per the lease agreement and that no deferred maintenance etc.
          Confirm that you cleared the lien on the aircraft prior to return.
          Looking forward to receive the above asap so that we can get the aircraft moving.
          //Jorgen
   A copy of this email is attached to the Affidavit as Exhibit C. Mr. Fayard did not respond to this

   email nor provided the requested documentation and other information.

          On July 3, 2017, Alandia’s counsel issued a letter to the Debtor’s counsel reminding the

   Debtor of its obligations to return the N220MJ Aircraft in accordance with the Return Conditions,

   requesting that the Debtor advise when the N220MJ Aircraft will be ready for return under the

   Order and the Lease, advising that Alandia is prepared to make arrangements to inspect and take

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   possession of the N220MJ Aircraft when it heard back from the Debtor, and rejecting Mr. Fayard’s

   contention in his June 30, 2017 email that the N220MJ Aircraft has been returned effective June

   30, 2017. A copy of this letter is attached to the Affidavit as Exhibit D. Counsel for the Debtor

   did not respond to this correspondence. On July 7, 2017, counsel for Alandia emailed counsel for

   the Debtor, stating:

          Doug and Lori, just following up on my attached letter to you of July 3, 2017. I
          have not received a response from you (and my client has not heard back from Mr.
          Fayard in response to my client’s email of July 1, 2017). I assume that this means
          that the Debtor is working on the redelivery conditions and you will let us know
          when the aircraft is ready. However, please advise if this is not correct. Thanks
          David.

   A copy of this email is attached to the Affidavit as Exhibit E. Counsel for Alandia did not receive

   a response to this email. On July 10, 2017, counsel for Alandia was able to reach counsel for the

   Debtor by phone. Counsel for the Debtor advised that the Debtor would obtain removal of the

   improper Empire lien through its pending motion and that Mr. Fayard would be in touch with

   Alandia’s representative about the other Return Conditions.

          On July 11, 2017, Mr. Fayard sent an email to Alandia’s representative advising that the

   Debtor would be returning the other two Aircraft to Alandia. A copy of this email is attached to

   the Affidavit as Exhibit F. In this email, Mr. Fayard advises that “I have contacted GE and asked

   for coverage letters for the engines for all 3 aircraft. I am awaiting a response and will let you

   know when I hear back from them.” Mr. Fayard did not address the status of any of the other

   Return Conditions.

          On July 13, 2017, Alandia’s representative again emailed Mr. Fayard and asked whether

   he intended to “…contact [him] to discuss how to handle the return conditions of the aircraft” and

   requesting that Mr. Fayard advise him of the status of one of the leased engines that had not been

   returned and was believed to be at H+S Aviation, an engine repair shop (“H+S”), and that Mr.

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   Fayard send him the weekly status report from H+S. A copy of this email is attached to the

   Affidavit as Exhibit G.

          Mr. Fayard replied to the July 13, 2017 email from Alandia’s representative confirming

   that one of the leased engines was at H+S and addressing, without committing to comply with, the

   request for the status report from H+S. A copy of this email is attached to the Affidavit as Exhibit

   H.

          Alandia’s representative replied to Mr. Fayard’s July 13, 2017 email response as follows:

          Trey, Since the engine is sent out under GLO ECMP Contract the status report should be
          sent to your listed contact person. That was probably Bill Lange at the time and I don’t
          know whom his successor been. I would suggest you contact Mr Jamie Howison
          jamie.howison@hsaviation.co.uk and ask for the status report as if you sent the engine in
          beginning May it should be ready soon if not already.

          That’s about the engines. What about the other return conditions, are they scheduled to be
          performed in New Orleans?

          Thanks Jorgen

   A copy of this email is attached to the Affidavit as Exhibit I.

          At the July 19, 2017 hearing on the Debtor’s Motion to Reject Lease AA-FG01, Alandia

   explained to the Court its complete frustration with the Debtor’s and Fayard’s refusal to comply

   with the Return Conditions and their refusal to communicate with Alandia regarding same. The

   Court chastised Mr. Fayard for not appearing at the hearing and reminded him of his fiduciary duty

   to the estate. However, even after this admonition, the Debtor and Fayard continue to ignore their

   obligations under the Order and the Bankruptcy Code.

          Not only has the Debtor and Fayard failed to obtain Alandia’s engine which apparently

   remains in a repair shop in England, the Debtor and Fayard removed Alandia’s propeller from

   another of its Aircraft and replaced the propeller with a rental one (which has since been removed

   by the lessor of the propeller). On August 3, 2017, Alandia emailed Fayard as follows:

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           Trey,
           I found out from SAAB that there was no exchange done for the propeller on 220.
           You have a rental propeller installed that has to be returned to SAAB asap. What I
           understand is that our propeller was sent to Dowty for O/H (or repair) but has no
           information beyond that. Could you pls sort this out and make sure we get an SV
           propeller back on 220. One suggestion would be to discuss with SAAB to buy the
           one currently installed. It is about midlife and could be an acceptable replacement
           for us. I think that should be the cheapest option for you.

   The Debtor and Fayard have failed to respond to this email. Having sent Alandia’s engine and

   propeller off to repair shops (and then failing to pay for the repairs), the Debtor and Fayard now

   refuse to retrieve Alandia’s propeller and engine.

           To make matters worse, and despite its express representation in the Order that it would

   timely pay GE postpetition amounts due under the ECMP Agreement and that it would maintain

   the engines in the EMCP Program, and despite its express representation in the Order that GE had

   agreed to continue to perform under the ECMP Agreement, the Debtor failed to pay any

   postpetition amounts due to GE. While the Debtor blamed a billing error caused by CFM

   misstating the hours of use on the Aircraft, even after this error was corrected, the Debtor still

   failed to pay GE. As a result, the engine will not be repaired under the ECMP Program. Moreover,

   the Debtor’s failure to pay GE prevents the Debtor from obtaining the ECMP Qualification Letters

   on the engines, singularly the most important Return Condition which is so critical to the value of

   the Aircraft. The Debtor has destroyed the value of Alandia’s Aircraft during the pendency of

   this case.

           With its engine missing from its N9CJ Aircraft and its propeller missing from its N220MJ

   Aircraft, and the Debtor’s and Fayard’s refusal to comply with the Return Conditions (or even

   communicate in good faith with Alandia regarding the Return Conditions), Alandia has been

   forced to incur additional and unnecessary expenses to secure what is left of its property. Alandia

   is still compiling these amounts and will supplement this motion when these amounts are

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   determined. To date, Alandia’s administrative expense claim is comprised of unpaid amounts due

   under the Leases and amounts arising from the Debtor’s failure to return the Aircraft in compliance

   with the Return Conditions as follows:


                                                            Cost            Running Cost
                     Cost Description
                                                           Amount              Subtotal
       Rent for N220MJ (July 1 – July 19)                $17,161.29           $17,161.29
       Maintenance Reserves (June 1 – June 30)           $32,335.20           $49,496.49
       Maintenance Reserves (July 1 – July 15)            $7,030.00           $56,526.49
       ECMP Charges (May 1 – May 31)                     $96,028.17          $152,554.66
       ECMP Charges (June 1 – June 30)                   $60,137.06          $212,691.72
       ECMP Charges (July 1 – July 15)                    $9,556.40          $222,248.12
       GE To obtain ECMP Letters                        $768,699.00          $990,947.12
       Empire lien                                      $246,326.632        $1,237,273.75
       Re-Paint of 3ea aircraft                         $156,000.00         $1,393,273.75
       Engine                                             unknown              unknown
       Propeller O/H estimate (quote pending from
                                                            $70,000.00      $1,463,273.75
       Dowty)
       C-Chk 2ea Aircraft                               $240,000.00         $1,703,273.75
       Propeller O/H (Due on 220)                        $70,000.00         $1,773,273.75
       30000/12000cycl Fatigue inspection two
                                                        $300,000.00         $2,073,273.75
       aircraft
       A-B and 4/2 year on three aircraft (Estimate)        $75,000.00      $2,148,273.75


   Because of the complete lack of cooperation from the Debtor, Alandia was only able to retrieve its

   Aircraft in the last couple of days and has not yet been able to assess the condition of the Aircraft.

   Alandia will likely incur additional costs to put all equipment and systems in good operating

   condition, complete all deferred maintenance, repair all corrosion, compensate for the tires and

   brakes not being at mid-life, putting all controlled components in serviceable condition with a



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     The Debtor filed a Motion to Hold Empire In Contempt because Empire filed its lien in violation of the
   stay and the lien should be stricken. Alandia intervened in and supported this Motion which is currently
   under advisement. Assuming the Empire Lien is stricken, Alandia’s claim will be reduced by the amount
   of the Empire lien.

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   service life as at delivery, and perform videotaped boroscope inspections all as required by the

   Return Conditions and the Order. Alandia will supplement its claim when these amounts are

   known.

            In addition, Alandia has not included August rent under the N9CJ Lease and N346CJ Lease

   even though the Debtor failed to file motions to reject these Leases. While the Debtor advised

   Alandia that it would no longer be using the Aircraft subject to these leases and that Alandia may

   retrieve the Aircraft, the Debtor refused to file a motion to reject these leases despite Alandia’s

   request that they do so (and despite its offer to stipulate that the leases are rejected as of July 31,

   2017). Accordingly, Alandia reserves the right to supplement its claim for rent under the N9CJ

   Lease and N346CJ Lease through the date of rejection.

            The Debtor’s and Mr. Fayard’s refusal to comply with the Return Conditions and payment

   provisions in the Order is inexcusable. When the issues were brought to the Court’s attention on

   July 19, 2017, the Debtor provided no excuse for its failure to address the issues with Alandia

   (which had been described in Alandia’s Opposition to the Motion to Reject the N220MJ Lease).

   The Debtor made no effort to surrender the property leased to the Debtor under the Leases. The

   engine and propeller have been left by the Debtor at repair shops, and only the Debtor, as the

   contracting party responsible for payment for the services at such repair shops, is authorized to

   retrieve such property from the repair shops. The Debtor and Fayard simply refuse to comply with

   these and the other Return Conditions as required by the Order.

            Alandia suspects that the Debtor and Fayard may seek to excuse their failure to comply

   with the Order because the Debtor ran out of money. However, the Court should reject this excuse

   for three reasons. First, the Debtor represented to Alandia that it had sufficient capital to comply

   with the Order by its agreement to the terms of the Order. If the Debtor did not have sufficient



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   capital, the Debtor should not have entered into the Order and lured Alandia into allowing the

   continued use of its Aircraft. Orders, and particularly consent orders, must mean something (or in

   future cases parties in interest may not seek to consensually work with debtors). Second, on the

   day of its bankruptcy filing, the Debtor filed a motion to approve $750,000 in postpetition

   financing (“DIP Loan”) from Wyoming Aviation which it represented was majority owned by the

   Debtor’s owner Fayard. [R.Doc. 10]. In the DIP Motion, the Debtor represented that it would use

   the $750,000 to fund its operations during the case and to pay administrative expense claims. This

   Court approved the DIP Loan in its Order entered on April 28, 2017. [R.Doc. 28]. Based upon the

   June Monthly Operating Report (which contains asterisks and notes stating that further information

   is needed), the Debtor had at least $250,000 available on its DIP Loan. At a minimum, the Debtor

   and Fayard should be ordered to draw on the remaining DIP Loan to satisfy administrative expense

   claims. Indeed, Wyoming Aviation signed the Order (as well as the Debtor). Third, the Debtor’s

   and Fayard’s failure to comply with the Order extends beyond the payment of funds. The Debtor

   and Fayard refused to respond to numerous emails and telephone calls from Alandia seeking to

   coordinate the surrender of the Aircraft (including Alandia’s propeller and engine which it

   abandoned at repair shops). As reflected by the Affidavit, the Debtor and Fayard refused to even

   extend Alandia the courtesy of advising that they would not be complying with the Order.

                                            Relief Requested

          Alandia requests that this Court hold the Debtor and Fayard in contempt of the Order and

   order that the Debtor and Fayard pay Alandia its administrative expense claim in full within 10

   days. Bankruptcy courts derive their civil contempt authority from §105(a), which provides:

          The court may issue any order, process, or judgment that is necessary or appropriate
          to carry out the provisions of this title. No provision of this title providing for the
          raising of an issue by a party in interest shall be construed to preclude the court
          from, sua sponte, taking any action or making any determination necessary or

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          appropriate to enforce or implement court orders or rules, or to prevent an abuse of
          process.
   In re Count Liberty, LLC, 370 B.R. 259, 270 (Bkrtcy. C.D. Ca. 2007)(listing cases); In re Bradley,

   588 F.3d 254, 266 (5th Cir. 2009)(Recognizing that bankruptcy courts have civil contempt power).

   In a civil contempt action, the moving party has the burden of establishing “by clear and

   convincing evidence that the contemnors violated a specific and definite order of the court. The

   burden then shifts to the contemnors to demonstrate why they were unable to comply.” Id. citing

   FTC v. Affordable Media, LLC, 179 F.3d 1228, 1239 (9th Cir.1999).

           The Court In In re Snider Farms, Inc., 125 B.R. 993 (Bkrtcy. N.D. Ind. 1991) explained

   its civil contempt power as follows:

                  Since civil contempt serves a remedial purpose by either coercing a
          respondent into compliance with the Court's Order or compensating the
          complainant for losses sustained, willfulness of the offending party need not be
          shown for a finding of contempt; it is sufficient that the Court order violated is
          specific and definite and that the offending party has knowledge of the Court's
          order. In re Skinner, 90 B.R. 470, 474 (D.Utah 1988), citing, McComb v.
          Jacksonville Paper Co., 336 U.S. 187, 69 S.Ct. 497, 93 L.Ed. 599 (1949). In re
          Lohnes, 26 B.R. 593, 596 (Bankr.D.Conn.1983); In re Demp, 23 B.R. 239, 240
          (Bankr.E.D.Pa.1982). That is to say willfulness is not an essential element of civil
          contempt. In re Crabtree, 39 B.R. 702, 710 (Bankr.E.D.Tenn.1984); In re Ashby,
          36 B.R. 976, 978 (Bankr.D.Utah 1984). Civil contempt may be established even
          though the failure to comply with the court order was unintentional, and done with
          good intentions. Perry v. D. Donnell, 759 F.2d 702, 705 (9th Cir.1985), citing,
          Commodity Futures Trading Commission v. Premex, 655 F.2d 779, 784 (7th
          Cir.1981). A party may be found in civil contempt if he has not been “reasonably
          diligent and energetic in attempting to accomplish what was ordered,” Stotler v.
          Able, 870 F.2d at 1163, supra, quoting, American Fletcher Mortgage Co. v. Bass,
          688 F.2d 513, 517 (7th Cir.1982). Orders of the Courts must be complied with and
          an appeal is the remedy for a decision believed to be erroneous. Thus, good faith
          alone does not immunize a party from a civil contempt sanction for noncompliance
          with a Court order. McLean v. Central State, etc., 762 F.2d 1204, 1210 (4th
          Cir.1985). Accidental, inadvertent or negligent conduct can be grounds for
          imposing civil contempt sanctions. In re Shafer, 63 B.R. 194, 198
          (Bankr.D.Kan.1986).




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   The Court in Snider Farms held the debtor’s principal in contempt because “the Respondent, as

   responsible executive officer of the Debtor, and legally identified with it, can be held in contempt,

   because the Debtor failed to comply with the Court's orders.” Id. at 999.

          Likewise, the Fifth Circuit in In re Bradley, 588 F.3d 254, 263-264 (5th Cir. 2009) affirmed

   a bankruptcy court’s contempt order against the trustee of a trust for the damages caused by his

   contemptuous conduct even though the court’s order was not in writing:

          Like criminal contempt, remedial civil contempt is backward-looking. But
          remedial contempt is civil, because it remedies the consequences of defiant conduct
          on an opposing party, rather than punishing the defiance per se. It accordingly does
          not require the special safeguards that accompany criminal contempt proceedings,
          such as establishment of mens rea and proof beyond a reasonable doubt. See
          McComb v. Jacksonville Paper Co., 336 U.S. 187, 193, 69 S.Ct. 497, 93 L.Ed. 599
          (1949) (holding that remedial civil contempt does not require proof of criminal
          intent); Griffith v. Oles (In re Hipp, Inc.), 895 F.2d 1503, 1509 (5th Cir.1990)
          (discussing character of criminal contempt as a “crime in the ordinary sense,”
          requiring a presumption of innocence, proof beyond a reasonable doubt, and
          protection against self-incrimination). The present proceeding is a remedial civil
          contempt proceeding, because the bankruptcy court held Beutel liable to the
          bankruptcy estate rather than imposing a fine payable to the court.

   In this case, the Order was not only written and signed by the Court, the Order was also signed by

   the Debtor, through Fayard, and Wyoming Aviation.

          In holding a debtor’s corporate officer in contempt of its order directed to the debtor, the

   Court in In re Count Liberty, LLC, 370 B.R. 259, 270 (Bkrtcy. C.D. Ca. 2007) explained the

   debtor’s officers and directors owe a fiduciary duty to comply with the Court’s orders:

          By virtue of § 1107(a), a chapter 11 debtor in possession stands in the shoes of a
          trustee and is a fiduciary for the estate and its creditors. See, e.g., Thompson v.
          Margen (In re McConville), 110 F.3d 47, 50 (9th Cir.1997) (stating that chapter 11
          debtors in possession “were fiduciaries of their own estate owing a duty of care and
          loyalty to the estate's creditors”), cert. denied, 522 U.S. 966, 118 S.Ct. 412, 139
          L.Ed.2d 315 (1997); Woodson v. Fireman's Fund Ins. Co. (In re Woodson), 839
          F.2d 610, 614 (9th Cir.1988) (“As debtor in possession he is the trustee of his own
          *276 estate and therefore stands in a fiduciary relationship to his creditors”
          (footnote omitted)); Devers v. Bank of Sheridan, Montana (In re Devers), 759 F.2d



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          751, 754 (9th Cir.1985) (“A debtor-in-possession has the duty to protect and
          conserve property in his possession for the benefit of creditors”).

          When the debtor is a corporation, the debtor in possession's fiduciary obligations
          to the corporation, its creditors and shareholders, fall upon the officers and
          directors. See Commodity Futures Trading Comm'n v. Weintraub, 471 U.S. 343,
          355, 105 S.Ct. 1986, 85 L.Ed.2d 372 (1985) (stating that “the debtor's directors bear
          essentially the same fiduciary obligation to creditors and shareholders as would the
          trustee for a debtor out of possession”); Wolf v. Weinstein, 372 U.S. 633, 649, 83
          S.Ct. 969, 10 L.Ed.2d 33 (1963) (observing that “so long as the Debtor remains in
          possession, it is clear that the corporation bears essentially the same fiduciary
          obligation to the creditors as does the trustee for the Debtor out of possession”
          (emphasis in original)); Holta v. Zerbetz (In re Anchorage Nautical Tours, Inc.),
          145 B.R. 637, 643 (9th Cir.BAP1992) (“When the debtor is a corporation, corporate
          officers and directors are considered to be fiduciaries both to the corporate debtor
          in possession and to the creditors.”).

          Corporate officers, as fiduciaries, must protect and preserve estate assets held in
          trust for the benefit of creditors. Holta, 145 B.R. at 643; Hirsch v. Penn. Textile
          Corp. (In re Centennial Textiles, Inc.), 227 B.R. 606, 612 (Bankr.S.D.N.Y.1998)
          (“As fiduciaries, the debtor in possession and its managers are obligated to treat all
          parties to the case fairly, maximize the value of the estate, and protect and conserve
          the debtor's property” (internal citations omitted)). In this regard, the Ninth Circuit
          holds the debtor in possession's corporate officers to the standards of “officers of
          the court because of their responsibility to act in the best interests of the estate as a
          whole and the accompanying fiduciary duties.” Gumport v. China Int'l Trust & Inv.
          Corp. (In re Intermagnetics Am., Inc.), 926 F.2d 912, 917 (9th Cir.1991); see York
          Int'l Building, Inc. v. Chaney (In re York Int'l Building, Inc.), 527 F.2d 1061, 1068
          (9th Cir.1975) (noting that special masters administering bankruptcy estates “are
          not acting as private persons, but as officers of the court”).


   Numerous other courts have either sanctioned or held in contempt such a non-party individual for

   the actions or non-actions of that corporation. See, e.g., Ferrara v. Nordeve, LLC, 2012 WL

   1999643 at *4 (E.D.N.Y. Apr. 10, 2012) (Report & Recommendation), adopted, 2012 WL

   2017501 (E.D.N.Y. May 30, 2012) (recommending that non-party be held in contempt for failure

   of corporation to comply with court order where “she clearly had control over Nordev and access

   to the information and documents sought”); Jones v. Regent Asset Mgmt. Solutions, Inc., 2011 WL

   2037626 at *3 (D.Conn. May 24, 2011) (noting that it was proper to hold non-party individual in



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   contempt where “there was a strong degree of identity between Defendant Regent Asset

   Management Solutions, Inc. and its President, CEO, and sole stockholder, Michael Scata”);

   Amerisource Corp. v. Rx USA Int'l Inc., 2010 WL 2730748 at *5 (E.D.N.Y. July 6, 2010)

   (concluding that the court had the inherent power to sanction a non-party where the non-party was

   the majority shareholder and chief executive and managed the litigation on behalf of the

   defendant); Diamant v. GMS Diamonds Corp., 2004 WL 2710028 at *1 (S.D.N.Y.2004)

   (concluding that principal and sole shareholder of a corporation could be held in contempt for

   corporation's failure to comply with a subpoena); Spectacular Venture, L.P. v. World Star Int'l,

   Inc., 927 F.Supp. 683, 685 (S.D.N.Y.1996) (holding in contempt individual non-party who was

   the president and principal of defendant that failed to comply with court order). In addition to its

   contempt power, this Court also has authority to sanction the Debtor and Fayard under Bankruptcy

   Rule 9011.

          Fayard, as the sole member and manager of the Debtor, placed the Debtor into a Chapter

   11 bankruptcy but failed to exercise his duties as an officer of the Debtor to comply with the Order

   (to which he as an officer of the Debtor and Wyoming Aviation agreed). Both the Debtor and

   Fayard should be held in contempt of court and ordered to pay the administrative expense claim

   of Alandia in full within 10 days.

          In addition, Alandia seeks formal allowance of its administrative expense claim. Alandia’s

   claim set forth herein constitute the actual and necessary costs of the estate and, and were in fact

   incurred as ordered by the Court as set forth in the Order. Under Bankruptcy Code section 503,

   Alandia is entitled to allowance of its administrative expense claim and entitled to an order

   directing the Debtor to immediately pay such claim.




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                                              Conclusion

          The Debtor, and its principal Fayard, have failed to comply with the Order. The Debtor’s

   and Fayard’s complete indifference to this Court’s Order and their obligations in this proceeding

   are extraordinary. The Debtor and Fayard failed to advise Alandia that they would not comply

   with the Order much less offer an excuse for failing to comply with the Order. The Debtor and

   Fayard have left Alandia’s engine and propeller in far flung repair shops and their engines out of

   the extremely important ECMP Program. The Debtor and Fayard destroyed the value of Alandia’s

   property without even saying “I’m sorry”. Alandia is now left to pick up the pieces. Alandia

   requests that this Court issue the strongest contempt order possible in hopes of compelling the

   Debtor and Fayard to comply with their obligations in this case. Alandia further requests that this

   Court allow its administrative expense claim as established at the hearing on this Motion.

          Alandia reserves all other rights and remedies with respect to Fayard, the Debtor and

   Wyoming Aviation and any other officers and directors of the Debtor and Wyoming Aviation.



                                         Respectfully submitted,
                                         CARVER, DARDEN, KORETZKY, TESSIER
                                         FINN, BLOSSMAN & AREAUX, L.L.C.

                                         /s/ David F. Waguespack
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                                         Association, not in its individual capacity but solely as
                                         Owner Trustee for the benefit of Alandia Air Ab




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                                    CERTIFICATE OF SERVICE

            I hereby certify that a copy of the foregoing has been served upon counsel for the Debtor,

   Douglas S. Draper, Heller Draper Patrick Horn & Dabney, LLC, 650 Poydras Street, Suite 2500,

   New Orleans, LA 70130-610; and the Office of the U. S. Trustee, Amanda B. George, 400 Poydras

   Street, Suite 2110, New Orleans, LA 70130; by ECF filing and by depositing same in the U. S.

   Mail, postage prepaid and addressed accordingly and on the Members of the Committee of

   Unsecured Creditors, Aviation Inventory Resources, Inc., Attn. Morgan Whitehead, 12240 E. FM

   Highway 917, Alvarado, TX 76009 (email mwhitehead@avinres.com), Worldwide Aircraft

   Services, Inc., Attn. David Vorbeck, 2755 N. General Aviation Ave., Springfield, MO 65803

   (email dave.vorbeck@wwair.com); counsel for Empire Airlines, Inc., Lance J. Arnold, Baldwin

   Haspel Burke & Mayer, LLC, Energy Centre, 36th Floor, 1100 Poydras Street, New Orleans, LA

   70163 (email arnold@bhbmlaw.com) by email and by depositing same in the U. S. Mail, postage

   prepaid and addressed accordingly, on this 9th day of August, 2017.


                                                 /s/ DAVID F. WAGUESPACK
                                                 DAVID F. WAGUESPACK

   4839-1480-2764, v. 1




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